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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

WHITE HAUL TRANSPORT, INC.                         *     CIVIL ACTION
                                                   *
VERSUS                                             *     NO. 06-11260
                                                   *
COASTAL BRIDGE COMPANY, LLC, ET AL.                *     SECTION “B”(4)

                           ORDER AND REASONS

     Before the Court is the Motion for Summary Judgment (Rec. Doc.

No. 121) filed by Defendant RCS Contractors, Inc. (“RCS”) and the

Motion for Partial Summary Judgment (Rec. Doc. No. 117), seeking

dismissal of Plaintiff’s joint venture and Louisiana Unfair Trade

Practices Act (“LUTPA”) claims, filed by Defendant Coastal Bridge

Company,   L.L.C.   (“Coastal”).     After   considering   the   motions,

responses, replies, the applicable law, and for the reasons that

follow,

     IT IS ORDERED that RCS’s Motion for Summary Judgment (Rec.

Doc. No. 121) is GRANTED.

     IT IS FURTHER ORDERED that Coastal’s Motion for Partial

Summary Judgment (Rec. Doc. No. 117) is GRANTED and that the joint

venture and LUTPA claims are hereby DISMISSED.

                               BACKGROUND

     In response to the lack of housing after Hurricane Katrina,

the Federal Emergency Management Authority (“FEMA”) contracted with

Shaw Environmental, Inc. (“Shaw”) to transport and install travel



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trailers. To fulfill this FEMA contract, Shaw contracted with RCS,

who    subcontracted      with    Coastal,         who    then    subcontracted      with

Plaintiff White Haul Transport, Inc. (“White Haul”).

        On December 22, 2006, White Haul filed a complaint against

RCS, Shaw, and Coastal.              In its original complaint, White Haul

alleged that RCS and Coastal were liable for breach of contract,

repudiation      of   contract,      oral        breach   of     contract,   breach    of

contract accompanied by a fraudulent act, violation of Louisiana’s

Unfair Trade Practices Act, unjust enrichment/quantum meruit, and

negligent interference with contractual rights.                       On July 17, 2007,

this Court granted Shaw’s Motion to Dismiss pursuant to Fed. R.

Civ. P. 12(b)(6), citing the absence of a contractual relationship

between Shaw and White Haul as the basis.

        RCS then moved for summary judgment, and this Court granted

summary judgment in favor of RCS on June 3, 2008 as to all claims

except     for   White   Haul’s      claim       of   breach     of   a   joint   venture

agreement,       which   was   not    asserted        until      Plaintiff   filed    its

opposition to RCS’s first motion for summary judgment.                        The Court

granted Plaintiff leave to amend its complaint to reflect this

newly asserted claim.          In light of Plaintiff’s amended complaint,

RCS once more seeks summary judgment against White Haul over this

final claim of breach of a joint venture agreement.                       Coastal seeks

partial summary judgment against Plaintiff on the breach of joint

venture claim and the LUTPA claim.


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     RCS and Coastal maintain that a joint venture agreement never

existed here because none of the essential elements of a joint

venture   agreement   are   present.     Coastal   also   contends    that

Plaintiff lacks standing to assert a claim under LUTPA because

White Haul is not a “consumer” or “business competitor” – the

classes of individuals that LUTPA seeks to protect.               Coastal

further argues that a LUTPA claim cannot be sustained when the

alleged   improper    conduct    falls   within    a   normal    business

relationship or free enterprise transaction, which Coastal contends

was the case here. Furthermore, RCS asks this Court to reserve its

right to file a motion for Rule 11 sanctions against Plaintiff in

the event that the Court grants summary judgment and dismisses RCS

from the suit.

     Plaintiff acknowledges that there was no written contract or

subcontract between RCS and White Haul, but instead avers that the

relationship between RCS, White Haul, and Coastal constituted a

joint venture relationship.      The existence of this joint venture

allegedly gives White Haul rights against the co-venturers and

against the venture itself.       Plaintiff contends that all of the

essential elements of a joint venture agreement are present here

and argues that summary judgment is therefore improper due to the

existence of material issues of fact.

     Plaintiff also argues that it was a “business competitor”

within the meaning of LUTPA and that the unusually complex nature


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of the trailer installation work took the parties’ dealings outside

of   the   scope   of   a   normal    business   relationship.    Plaintiff

maintains that Coastal is liable to White Haul for unfair trade

practices under LUTPA.

                                 DISCUSSION

A.   Summary Judgment Standard

       Summary judgment is proper if the pleadings, depositions,

interrogatory       answers,    and    admissions,    together   with       any

affidavits, show that there is no genuine issue as to any material

fact and that the moving party is entitled to judgment as a matter

of law.    Fed. R. Civ. P. 56(c); see Celotex Corp. v. Catrett, 477

U.S. 317, 327 (1986).        A genuine issue of material fact exists if

the evidence would allow a reasonable jury to return a verdict in

favor of the nonmovant.        Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986). Although the Court must consider the evidence and

all reasonable inferences in the light most favorable to the

nonmovant, the nonmovant must still produce specific facts to

demonstrate that a genuine issue exists for trial.               Matsushita

Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986).      The nonmovant must go beyond the pleadings and use

affidavits, depositions, interrogatory responses, admissions, or

other evidence to establish a genuine issue.            Celotex Corp., 477

U.S. at 324.       Accordingly, conclusory rebuttals of the pleadings

are insufficient to avoid summary judgment.          Travelers Ins. Co. v.


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Liljeberg Enters., Inc., 7 F.3d 1203, 1207 (5th Cir. 1993).

B.   Joint Venture Status

       A joint venture is formed when two or more persons undertake

to combine their efforts, knowledge, property, or labor to engage

in and carry out a single business venture for joint profit, where

profits and losses are shared, with each party having some right of

control over the business.        Garber v. Badon & Ranier, 07-1497, p.

15 (La. App. 3 Cir. 4/2/08); 981 So. 2d 92, 102.            A joint venture

arises only when the parties intended the relationship to exist;

such a relationship is ultimately predicated upon contract, either

express or implied.     Riddle v. Simmons, No. 40,000, p. 18 (La. App.

2 Cir. 2/16/06); 922 So. 2d 1267, 1281; see also Guillory v. Hayes,

576 So. 2d 1136, 1142 (La. App. 3 Cir. 1991).            There must be some

contract between the parties establishing a juridical entity and

requiring contribution by all parties of effort or resources.

Latioloas v. BFI of Louisiana, Inc., 567 So. 2d 1159, 1161 (La.

App. 3 Cir. 1990).          Such contributions must be in determined

proportions, require joint effort, and involve mutual risk and

sharing of profits.     Id. The essential elements of a joint venture

are generally the same as those of partnership; accordingly, joint

ventures are governed by the law of partnership.            Moroux v. Toce,

06-831, p. 12 (La. App. 3 Cir. 11/2/06); 943 So. 2d 1263, 1271.

       In   contrast   to   the   mutual   obligations    shared   by   joint

venturers, a subcontractor simply enters into an agreement with


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another contractor or subcontractor, rather than the principal

party whose performance is payment in exchange for completion of

the project.      See Texaco Exploration & Prod., Inc. v. AmClyde

Engineered Prods., 448 F.3d 760, 778-79; Black’s Law Dictionary

1464 (8th ed. 2004).         “A subcontractor is one who takes a portion

of    a   contract    from     the   principal     contractor    or   another

subcontractor.”       Avondale Indus., Inc. v. Int’l Marine Carriers,

Inc.,     15   F.3d   489,    494    (5th   Cir.   1994).       Subcontractor

relationships do not involve the sharing of profits or resources as

do joint ventures; rather, subcontractors and contractors simply

exchange performance for payment.           Hence, one cannot subcontract

for an entity while simultaneously serving as a joint venturer in

that entity on the same undertaking.

        “[I]t is well settled that what constitutes a joint venture is

a question of law, while the existence or nonexistence of a joint

venture is a question of fact.”        Rester v. Aetna Cas. & Surety Co.,

598 So. 2d 673, 676 (La. App. 3 Cir. 1992); Grand Isle Campsites,

Inc. v. Cheek, So. 2d 350, 357 (La. 1972); Latiolais, 567 So. 2d at

1161. If Plaintiff is unable to present evidence in support of the

pertinent law establishing joint venture status, or if the evidence

presented negates the existence of one of the essential elements,

then summary judgment may be proper.          See Moroux v. Toce, 06-831,

p. 12 (La. App. 3 Cir. 11/2/06); 943 So. 2d 1263, 1271.            In Moroux,

the Louisiana Court of Appeal affirmed the district court’s grant


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of partial summary judgment in favor of Defendant because Plaintiff

admitted through his deposition testimony that he lacked authority

and did not share mutual risk, elements necessary for the existence

of a joint venture.    Id.

     Similarly, in this case, Plaintiff’s own deposition testimony

reveals that White Haul lacked the requisite intent to form a joint

venture.   Specifically, Tim White, principal of Plaintiff White

Haul, admitted at deposition, “I don’t know if there’s a specific

joint venture.    I think it’s more like the actions that actually

occurred. . . . that it took the efforts of all parties to make the

project flourish.”      (RCS’s Mot. for Summ. J. Ex. G.)              This

statement demonstrates a lack of intent on the part of Plaintiff to

enter into a joint venture.       As such, the evidence demonstrates

that one of the essential elements of a joint venture agreement is

absent here, and summary judgment as to Plaintiff’s joint venture

claims is therefore proper.

     Plaintiff contends that the intent of the parties in creating

a joint venture is irrelevant.      White Haul’s reliance on excerpts

from the Louisiana Practice Series on Corporations and irrelevant

case law in support of this proposition, however, is misplaced.

Section 20:4 of the Louisiana Practice Series on Corporations,

relied upon by Plaintiff in its oppositions to summary judgment,

states: “Irrelevance of intent to create joint venture –– A

relationship may be a joint venture even though the parties


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expressly disavow an intent to create a joint venture.”         First, it

should be noted that Plaintiffs rely primarily upon a practice

series excerpt for the proposition that intent in creating a joint

venture is “irrelevant.”       Furthermore, the authority cited by

Plaintiff for this proposition applies in the context of “stranger

to the contract” situations, which is not the situation in the case

at bar.   For example, in Peterson v. BE&K, Inc. of Alabama, 652 So.

2d 617 (La. App. 1 Cir. 1995), cited by Plaintiff and in the

practice series, Peterson was not a party to the joint venture

agreement but filed a tort suit for personal injuries against a

party to that agreement. Liability was predicated on the existence

of the joint venture.    The court found the joint venture to exist

in that instance because all of the elements required for a joint

venture to exist were met; for example, the two corporate entities

involved actually entered into a written “Joint Venture Agreement”

that specifically detailed the essential elements necessary for

formation of a joint venture.      No such agreement exists here, nor

does any intent to form such an agreement exist on the part of RCS,

Coastal, or White Haul.      (See RCS’s Mot. for Summ. J. Ex. G, in

which Plaintiff admits to not having knowledge that a joint venture

agreement existed among the parties to this litigation.)                  A s

such, summary judgment must be granted in favor of Defendants on

the joint venture claim.

     The parties involved here ended up sharing certain risks and


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rewards inherent in advancing the interests of a common project

goal   –   to   install   FEMA   trailers.   This   alone,   however,     is

insufficient to create a joint venture.       Operating under the terms

of a subcontract obviously exposes the subcontractor to certain

risks that he must assume. On the other hand, benefits received by

that subcontractor belong to that subcontractor alone despite the

fact that such benefits result in a net positive for all involved

due to the subcontractor’s assistance in moving the entire project

forward as a whole.       Such mutual benefit is insufficient to create

a joint venture.

       Rather, joint venture agreements require profits and losses on

the whole to be shared.          For example, in Peterson, the parties

contemplated that 50.32% of the profits would be allocated to one

party while 49.68% of the profits would be allocated to the other

party.     652 So. 2d 617, 623.     White Haul, on the other hand, was

paid per unit item installed in addition to any payable extra costs

incurred during the trailer installations.            White Haul never

obtained an interest in the overall profits or losses of the FEMA

trailer installation work.        That installation materials happen to

have been pooled and shared does not automatically create the

common proprietary interest required for a joint venture to exist.

As a result, summary judgment in favor of Defendants on the joint

venture claim is proper, and       Plaintiff’s joint venture claims are

dismissed.


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C.    LUTPA

       Under LUTPA, “[u]nfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or business

are . . . declared unlawful.”         La. Rev. Stat. § 51:1405(A).           To

seek relief under LUTPA, however, one must be within the class of

persons that the statute is meant to protect.             The parties here

concede that White Haul would have to be a “business competitor” to

seek relief under LUTPA.        See W.A. Offshore Equip. Co., Inc. v.

Parmatic Filter Corp., 767 F. Supp. 125, 126 (E.D. La. 1991) (“It

is obvious that the word ‘competition’ imports the existence of

present or potential competitors, and the unfair methods must be

such as injuriously affect or tend thus to affect the business of

these competitors – that is to say, the trader whose methods are

assailed as unfair must have present or potential rivals in trade

whose business will be, or is likely to be, lessened or otherwise

injured.”) (citations omitted).

       Coastal argues that its arrangement with White Haul was

analogous to an employer-employee relationship and that Plaintiff’s

request for relief under LUTPA is therefore misplaced because the

two entities were never in competition with each other.                White

Haul, however, notes that they were competing with Coastal in the

business of installing travel trailers.          That White Haul may have

been hired by Coastal to do subcontract work in this instance does

not automatically negate the actual or potential trade rivalry


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existing between the two companies with respect to installing

trailers after Hurricane Katrina.       However, White Haul presents no

claim nor any evidence that it sought to establish its own business

installing FEMA trailers in competition with Coastal.         What White

Haul is essentially alleging is that Coastal breached a contract.

There was no competition between White Haul and Coastal; rather,

White Haul was Coastal’s alleged subcontractor, installing FEMA

trailers for Coastal.    With no competition evident here, Plaintiff

lacks standing to pursue a claim under LUTPA.         See W.A. Offshore

Equipment Co., 767 F. Supp. at 127.          Compare Morris v. Rental

Tools, Inc., 435 So. 2d 528, 532-33 (La. App. 5 Cir. 1983).

Summary judgment as to Plaintiff’s LUTPA claims against Coastal is

proper.   Accordingly,

     IT IS ORDERED that RCS’s Motion for Summary Judgment (Rec.

Doc. No. 121) is GRANTED.1

     IT IS FURTHER ORDERED that Coastal’s Motion for Partial

Summary Judgment (Rec. Doc. No. 117) is GRANTED and that the joint




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      RCS asks the Court to reserve RCS’s right to file a motion
for Rule 11 sanctions. However, the Court is disinclined to
grant this because Plaintiff’s joint venture argument does not
seem so frivolous as to warrant sanctions, particularly since the
Court had granted Plaintiff leave to amend its complaint to
include such a claim. In disagreeing with Plaintiff’s
interpretation/application of the Louisiana Practice Series on
Corporations, it cannot be said that Plaintiff’s position was
either frivolous or sanctionable.

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venture and LUTPA claims are hereby DISMISSED.

     New Orleans, Louisiana, this 5th day of April, 2010.




                                     ________________________________
                                             IVAN L.R. LEMELLE
                                       UNITED STATES DISTRICT COURT




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